                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:06-cr-87

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                         ORDER
                                    )
JAMES WILLIAM GASTON (3)            )
____________________________________)


       THIS MATTER is before this Court upon the defendant’s motion, pro se, to correct the

judgment. (Doc. No. 184).

       The defendant asserts that a correctional institution is improperly attempting to collect

$2,000 in attorney’s fees which the defendant believes was waived at sentencing. The Court

imposed $2,000 towards the cost of attorney’s fees and $500 special assessment, but waived a

fine and interest. (Doc. No. 129: Sent. Hr’g tr. at 12-13). This sentence is correctly detailed in

the Judgment. (Doc. No. 121 at 4).

       IT IS, THEREFORE, ORDERED that the defendant’s motion (Doc. No. 184) is

DENIED.

       The Clerk is directed to certify copies of this Order to the defendant, counsel for the

defendant, the Community Defender, the United States Attorney, the United States Marshals

Service, and the United States Probation Office.

                                                   Signed: October 7, 2011




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